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Debtor 1 Linda Adams Morrison

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District Of North Carolina

 

Case Number: 12-07082-8-JNC

 

 

 

 

Form 1340 (12/19)
APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

 

1. Claim Information

For the benefit of the Claimant(s)' named below, application is made for the payment of unclaimed funds on deposit with
the court. | have no knowledge that any other party may be entitled to these funds, and | am not aware of any dispute
regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

 

Amount: $1,370.55

 

Claimant's Name: Dilks & Knopik, LLC as assignee to Prosper Marketplace Inc.

 

Claimant's Current Mailing
Address, Telephone Number, 35308 SE Center St
and Email Address: Snoqualmie, WA 98065

 

 

2. Applicant Information

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
apply):

LJ Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing on the records of the
court.

Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
succession or by other means.

L] Applicant is Claimant's representative (e.g., attorney or unclaimed funds locator).

L] Applicant is a representative of the deceased Claimant's estate.

 

3. Supporting Documentation

Applicant has read the court’s instructions for filing an Application for Unclaimed Funds and is providing the required
supporting documentation with this application.

 

 

 

' The Claimant is the party entitled to the unclaimed funds.
2 The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3 The Owner of Record is the original payee.

 
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4. Notice to United States Attorney

pursuant to 28 U.S.C. § 2042, at the following address:

Eastern District
150 Fayetteville
Raleigh,

X] Applicant has sent a copy of this application and supporting documentation to the United States Attorney,

Office of the United States Attorney

Of North Carolina
Street, Suite 2100
NC 27601

 

5. Applicant Declaration

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date: June 23, 2021

Ob. Pho

Signafdre of Applicant
John L. Groshon
Atty Representative for Dilks & Knopik, LLC

1001 East Blvd., Suite C
Charlotte, NC 28203-5780
(704) 342-3328 Phone
(704) 342-3358 Fax

5. Co-Applicant Declaration (if applicable)

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date:

 

 

Signature of Co-Applicant (if applicable)

 

Printed Name of Co-Applicant (if applicable)

Address:

Telephone:

 

Email:

 

 

6. Notarization
STATE OF NORTH CAROLINA

COUNTY OF MECKLENBURG

This Application for Unclaimed Funds, dated

June 23, 2021 was subscribed and sworn to before me this,
23rd day of_June , 20.21 by
John L. Groshon who signed above and is personally
known to me (or proved to me on the basis of satisfactory
evidence) to be the person whose name is subscribed to
the within instrument. WITNESS my hand and official seal.

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se eek Ose, nthia W. Groshon

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6. Notarization
STATE OF

 

COUNTY OF

 

This Application for Unclaimed Funds, dated
was subscribed and sworn to before

me this day of , 20 by

 

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within
, instrument. WITNESS my hand and official seal.

(SEAL) Notary Public

 

My commission expires:

 

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Unclaimed Funds Page 2

 
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CERTIFICATE OF SERVICE

In accordance with 28 U.S.C. § 2042, the undersigned hereby certifies that on

the date designated below, a true and correct copy of the foregoing application with all
required documentation was mailed to:

United States Attorney for Eastern District Of North Carolina
150 Fayetteville Street, Suite 2100
Raleigh, NC 27601

Names and addresses of all other parties served:

 

Date: June 23, 2021
John L. Groshon

Attorney Representative for
Dilks & Knopik, LLC

1001 East Blvd., Suite C
Charlotte, NC 28203-5780
(704) 342-3328
groshonlawoffice@aol.com

Certificate of Service for Application for Payment of Unclaimed Funds Page 3

 

 
